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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES,

Plaintiff,

Civil Action
No. 99-1875 (GK)

Vv.

CARGILL, INCORPORATED and
CONTINENTAL GRAIN COMPANY,

FILED
JUN 3 0 2000

Defendants.

 

U.S. DISTRICT COURT

MEMORANDUM OPINION

This matter comes before the Court on the Motion by the United
States for Entry of Final Judgment [#22]. Upon consideration of the
motion, the public comments filed in response to the proposed final
judgment, and the United States' report, for the reasons stated
below, the motion shall be granted, and the Final Judgment shall be
entered.

I. Background

This litigation began when Cargill, Inc., attempted to acquire
certain branches of Continental Grain Company's grain business.
Both companies trade grain, and they do so by purchasing it from
farmers, shipping it to specific locations using various grain
elevators (country elevators, rail terminals, river elevators, and
port elevators), and storing it until they can sell it and move it
to their domestic and foreign customers. Grain typically moves

from farms to country elevators, then to river elevators and rail

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terminals, and then to domestic purchasers or port elevators for
export to foreign purchasers. Cargill and Continental often
compete with each other at various stages of this grain
distribution network, and both companies are players in the U.S.
and foreign markets for grain.

On October 9, 1998, Cargill entered into an agreement with
Continental to acquire Continental's grain trading business. On
July 8, 1999, the United States filed a complaint alleging that the
proposed acquisition would substantially lessen competition for
grain purchasing services in nine relevant markets, in violation of
Section 7 of the Clayton Act, 15 U.S.C. § 18. The United States
alleged that in those markets Cargill would have gained the power
to artificially depress prices paid to U.S. farmers and other
suppliers for their grain crops. The United States also alleged
that the proposed acquisition was a division of markets, in
violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, because
the agreement prohibited Continental from re-entering the grain
business for a period of five years. This five-year period would
give Cargill more than enough time to gain the loyalty of former
Continental customers, thus making it very difficult for
Continental to regain their loyalty if it chose to re-enter the
market.

The proposed settlement focuses on the nine relevant markets
where the effects of the acquisition would be felt the most. The
settlement requires Cargill to divest either its grain elevator or

Continental's grain elevator serving each market. In addition,
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Cargill must make 1/3 of the daily loading capacity at its Havana,
IL, river elevator available to an independent grain company to
avoid undue concentration among firms controlling delivery points.
The settlement prohibits Cargill from acquiring any interest in
facilities to be divested by Continental pursuant to the
settlement, and prohibits Cargill from reacquiring a formerly-held
minority interest in another river elevator. Finally, the proposed
settlement reduces to three years the length of time that
Continental must wait before re-entering the grain business and
competing with Cargill.

II. Analysis

The parties have thus far been in compliance with the
Antitrust Procedures and Penalties Act, 15 U.S.C. § 16. The
Complaint and proposed Final Judgment were filed July 8, 1999.
Defendants filed statements pursuant to 15 U.S.C. § 16(g) on July
19, 1999. The Competitive Impact Statement ("CIS") was filed on
July 23, 1999. The proposed Final Judgment and CIS were published
in the Federal Register on August 12, 1999, at 64 Fed. Reg. 44,046.
A summary of the terms of the proposed Final Judgment and CIS was
published in the Washington Post, a newspaper of general
circulation in the District of Columbia, for seven days, from
August 10, 1999 through August 16, 1999. The sixty-day comment
period specified in 15 U.S.C. § 16(b) ran from August 12, 1999
through October 12, 1999, during which the Department of Justice
("DOJ") received public comments regarding the proposed Final

Judgment and the CIS. DOJ filed the comments and its report on the
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comments with this court on February 14, 2000, pursuant to 15
U.S.C. § 16(b), and published the comments and its report in the
Federal Register on March 24, 2000, at 65 Fed. Reg. 15,981. The
United States now moves for entry of the Final Judgment.

The Court may enter Final Judgment in this matter only after
it determines that doing so serves the public interest. 15 U.S.C.
§ 16(e). The legal standard for the Court's public interest
determination is a deferential one, allowing the Court to withhold
its approval only under very limited conditions. United States v.
American Tel. & Tel. Co., 552 F. Supp. 131, 151 (D.D.Cc. 1982),
aff'd sub nom. Maryland v. United States, 460 U.S. 1001 (1983).
The Court may not withhold its approval simply because the proposed
Final Judgment does not contain the relief the Court itself might
have awarded after a trial on the merits resulting in a finding of
liability. Moreover, the Court must confine its review of the
proposed Final Judgment to the violations charged in the complaint.
Approval should be withheld only if: (a) any of the terms appear
ambiguous; (b) the enforcement mechanism is inadequate; (c) third
parties will be positively injured; or (d) the decree otherwise
makes "a mockery of judicial power." Massachusetts Sch. Of Law at
Andover, Inc. v. United States, 118 F.3d 776, 783 (D.C. Cir.
1997) (quoting United States v. Microsoft Corp., 56 F.3d 1448 (D.C.
Cir. 1995)).

Cargill and Continental Grain are involved in the grain
business in four main ways: selling standard grades of grain,

selling less widely-traded grain products (niche products, etc.),
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buying grain, and providing elevator services. The United States
found that there would be no significant market power created as to
the first two aspects of this business, because the combined market
share of Cargill and Continental would be less than 8% of the sale
of standard grain products, and a negligible percentage of the sale
of so-called "niche" products. It is the second two aspects of
this business (buying grain and providing elevator services) that
are at issue in this litigation.

Cargill and Continental compete for the purchase of grain in
relatively small local and regional markets. Because shipping
grain by trucks is expensive, most farmers use trucks only for
short distances, and sell their grain to buyers such as Cargill and
Continental, who can ship it greater distances, and ultimately sell
it. In nine local or regional markets, Cargill's acquisition of
Continental could create sufficient market power to enable the few
grain companies competing in these markets to depress grain prices.

To remedy this situation, the proposed Final Judgment requires
Cargill to divest either its elevator or Continental's elevator in
those relevant markets to a new entrant in the industry. The
United States must approve all divestitures, after investigating
the potential purchaser. Cargill has complied, or is in the
process of complying, with this requirement.

The other aspect of the two companies' business that is of
concern in this litigation (providing elevator services) is also
addressed by the proposed Final Judgment. If Cargill's original

acquisition of Continental had gone forward, Cargill and one other
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company would hold approximately 80% of the authorized delivery
services (various types of grain elevators) in the local or
regional markets in question. This situation would make it easy
for Cargill to unilaterally, or in coordination with the remaining
firms, manipulate corn and soybean futures contracts. To remedy
this situation, the proposed Final Judgment requires Cargill's
divestiture of various river and port elevators, again with DOJ's
approval after investigation of the potential purchaser.

The proposed Final Judgment addresses competitive concerns
that arose from the way the original acquisition was structured.
The divestitures would preserve competition in the nine relevant
markets, and allow new entrants into the industry an opportunity to
compete with the existing companies. In addition, shortening the
non-compete provision in the acquisition from five to three years
ensures that Continental may re-enter the grain business sooner,
giving it a fair opportunity to regain the loyalty of former
Continental suppliers and customers.

The vast majority of those who submitted public comments in
response to the proposed Final Judgment were concerned that the
proposed settlement did not go far enough in ensuring competition.
It is not, however, this Court's task to fashion the most desirable
settlement possible. Rather, the Court must approve the settlement
unless any of the terms appear ambiguous, the enforcement mechanism
is inadequate, third parties will be positively injured, or the
settlement otherwise makes "a mockery of judicial power." The

proposed Final Judgment does not raise any of these concerns, but
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is instead a fair and reasonable resolution of the matter. Several
specific issues will, however, be addressed below.

Several commentators expressed concern that the United
States' definition of the relevant markets was too narrow, as the
United States considered only local and regional markets. If,
however, the United States had broadened its definition of markets
to include national or international markets, it would have been
forced to conclude that the proposed merger would not likely have
lessened competition, since Cargill has a much smaller share of the
national and international markets than it does of the local and
regional markets in question.

Another concern was that after the merger, Cargill will have
the ability to depress the prices it pays to farmers, who are a
large and disorganized group of sellers, unable to assert any real
control over the price they are paid for their grain. The proposed
Final Judgment, however, requires the divestiture of certain of
Cargill's operations, the effect of which is to protect farmers
from having to accept artificially low prices for their grain from
Cargill.

Some commentators expressed concern that the proposed Final
Judgment does not address the problem of vertical integration in
the agribusiness. Vertical integration occurs when several stages
of production (producing, processing, distributing, and marketing)
are brought together in one company. Vertical integration concerns
are not implicated here because the proposed merger is horizontal

rather than vertical.
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Some commentators expressed concern that there is no assurance
that the divested operations will remain competitive forces in the
relevant markets. The United States has, however, reviewed the
proposed agreements to ensure that the divested facilities will be
controlled by new entrants with the appropriate background,
experience, and incentive to make them viable and competitive.

Some commentators noted that the United States failed to
explain the benefits of the merger. The Clayton and Sherman Acts
do not, however, require the United States to make that judgment.
The role the United States plays in such situations is to determine
whether the merger is substantially likely to lessen competition,
and if so, to seek to prohibit the transaction, or attempt to
restructure it (by consent of the parties) to lessen that anti-
competitive effect. The United States has fulfilled this role in
the instant case.

Some commentators noted that the United States failed to
consider several other statutes when structuring the proposed Final
Judgment. These commentators have, however, failed to indicate how
the statutes to which they refer affect the instant case, or how
the proposed Final Judgment fails to address the problems those
statutes were intended to cover.

Some commentators expressed concern that the United States
failed to consider the possibility of continuing anti-competitive
behavior by Cargill after the merger, and the effect of the removal
of Continental as a competitor of Cargill. The proposed Final

Judgment, however, sufficiently addresses these concerns by
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requiring divestiture of certain of Cargill's operations to firms
that will remain viable and competitive in the relevant markets.
In sum, because none of the terms in the proposed Final
Judgment appear ambiguous, because the enforcement mechanism
appears adequate, because no third parties will be positively
injured, and because the settlement does not otherwise make "a
mockery of judicial power," the Final Judgment shall be approved.

III. Conclusion

Because this Court determines that entry of the Final Judgment
1s in the public interest, the Motion by the United States for

Entry of Final Judgment [#22] shall be granted, and the Final

Judgment shall be entered.

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United States i istrict Judge
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